Case 2: 04- --cr 20150- BBD Document 79 Filed 05/18/05 Page 1 of 2 Page|D 104
§§ i: f " v z':-_i_.i
lN THE UN|TED STATES DISTR|CT COURT j ______ , , _I ,.,_. ,._

FOR THE WESTERN DlSTRICT OF TENNESSEE
WESTERN DlVlSlON

 

UN|TED STATES OF AMER|CA, )
)
Plaintiff, )
)
vs. ) Cr. No. 04-20103-D
) OH -QoiSo-b /
SCOTT CRAWFORD, )
)
Defendant. )

 

 

ORDER

 

Upon motion of the United States, the sentencing hearing in the above-referenced
case is continued until _ px\)\§d/Mlv \O\ ,2005. air \‘.E>o ?\\)\

iT |S SO ORDERED this 17 day Of |V|ay, 2005.

 

..S District Judge

Tnls document entered on the docket sheet in compiiance

with Fiuie 55 and/or 32(b) FRCrP on , 220 'C'§ /7

_____S;}

   

UNITED sTEATSD"TISRIC COURT - WESERT DISTRICT oF TENNESSEE

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